             Case
              Case2:21-cv-01707-NJK
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11                                   UNITED STATES DISTRICT COURT

12                                       DISTRICT OF NEVADA

13   IVELISSE BISHCOFF,                         )
                                                )   Case No.: 2:21-cv-01707-NJK
14                 Plaintiff,                   )
                                                )   [PROPOSED] ORDER GRANTING
15          vs.                                 )   DEFENDANT’S MOTION FOR AN
                                                )   EXTENSION OF TIME TO PROVIDE THE
16   KILOLO KIJAKAZI,                           )   COURT WITH A PAPER COPY OF THE
     Acting Commissioner of Social Security,    )   CERTIFIED ADMINISTRATIVE RECORD
17                                              )
                   Defendant.                   )
18                                              )

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              Case
               Case2:21-cv-01707-NJK
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 1           Based upon Defendant’s Motion for an Extension of Time to Provide the Court with a Paper Copy
 2   of the Certified Administrative Record, and for good cause shown, IT IS ORDERED that Defendant may
 3   provide a paper copy of the Certified Administrative Record (CAR) to the Court within 60 days after the

 4   answer and e-CAR are filed.

 5

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                                                        IT IS SO ORDERED:
 7
 8                                                      HON. NANCY J. KOPPE
                                                        UNITED STATES MAGISTRATE JUDGE
 9
                                                                October 27, 2021
                                                        DATED: ___________________________
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     [Proposed] Order; No. 2:21-cv-01707-NJK
